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Aragua, arrived in our country. They were immediately transferred to CECOT,

the Terrorism Confinement Center, for a period of one year (renewable). a
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